                               UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE



  ANDREW JOSTEN LOVINGOOD,

                    Plaintiff,
  v.
                                                                  No. 3:19-cv-00009
  BILL JOHNSON, DERRICK GRAVES;


                    Defendants.


                MEMORANDUM IN SUPPORT OF MOTION IN LIMINE NO. 2

         This case was filed January 5, 2019. It was previously filed in federal district court

  and voluntarily dismissed without prejudice. In the interim, Mr. Lovingood sought to

  impose criminal liability upon this Defendant and the same was rejected by a jury in the

  criminal court for Monroe County, Tennessee and Defendant Johnson was acquitted.

         Now, Plaintiff has refiled his federal district court complaint and outline various

  numbers he attributes to certain medical institutions.       The same have never been

  produced and Plaintiff totally failed to disclose the same appropriately under Fed. Rule

  Civ. Pro. 26. Instead, Plaintiff has done nothing but place the same in his exhibit list and

  pretrial order.

         Accordingly, it is respectfully submitted that Defendant’s Motion in Limine No. 2 be

  granted.

         RESPECTFULLY SUBMITTED this 15th day of November, 2021.




Case 3:19-cv-00009-DCLC-JEM Document 88 Filed 11/15/21 Page 1 of 2 PageID #: 840
                                                     s/ Arthur F. Knight, III
                                                     Arthur F. Knight, III, BPR #016178
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 15, 2021, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt. All other parties will be
  served by U.S. Mail. Parties may access this filing through the Court’s electronic filing
  system.


                                              s/Arthur F. Knight, III
                                              Arthur F. Knight, III




Case 3:19-cv-00009-DCLC-JEM Document 88 Filed 11/15/21 Page 2 of 2 PageID #: 841
